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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

 IN RE:                                     )
                                            )       Case No. 21-15685 JGR
 PERKY JERKY, LLC.                          )
 EIN:                                       )       Chapter 11
                                            )
   Debtor.                                  )

                      NOTICE OF FILING OF STALKING HORSE BID

      PLEASE TAKE NOTICE that the Debtor hereby files the stalking horse bid.

 DATED: February 23, 2022                   Respectfully submitted,

                                            By: /s/ Aaron A. Garber
                                                 Aaron A. Garber #36099
                                                 Wadsworth Garber Warner Conrardy, P.C.
                                                 2580 West Main Street, Suite 200
                                                 Littleton, CO 80120
                                                 Telephone: (303) 296-1999
                                                 Telecopy: (303) 296-7600
                                                 Email: agarber@wgwc-law.com
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on February 23, 2022, I served by prepaid first class mail
 or ECF a copy of the NOTICE OF FILING OF STALKING HORSE BID on all parties
 against whom relief is sought and those otherwise entitled to service pursuant to
 FED.R.BANKR.P. and these L.B.R. at the following addresses:


 Shawn Christianson schristianson@buchalter.com, cmcintire@buchalter.com
 Alan K. Motes Alan.Motes@usdoj.gov
 Sanford P. Rosen srosen@rosenpc.com
 US Trustee USTPRegion19.DV.ECF@usdoj.gov
 Deanna L. Westfall deanna.westfall@coag.gov,
 Robert.padjen@coag.gov;jade.darnell@coag.gov
 Angela Rose Whitford angie@goodspeedmerrill.com

                                            By: /s/ Nichole Garber
                                            For Wadsworth Garber Warner Conrardy, P.C.




                                                2
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